        8:14-cv-00042-LSC-FG3 Doc # 38 Filed: 05/13/15 Page 1 of 3 - Page ID # 111


                     IN THE UNITED STATES DISTRICT COURT FOR THE
                                 DISTRICT OF NEBRASKA


THE PRUDENTIAL INSURANCE                                        CASE NO. 8.T4-CV-42
COMPANY OF AMERICA, and
HARTFORD LIFE AND ANNUITY
INSURANCE COMPANY,
                                                         STIPULATED MOTION TO DISMISS
                 Plaintiffs,

          vs.

SUSAN C. PETERS, FIVE POINTS BANK,
as TRUSTEE OF THE MAXINE
BIELFELDT TRUST, and DAWN M.
STANCE,

                 Defendants.




          Come now the parties and jointly move this Court for an Order dismissing all claims b y

all parties with prejudice and ordering the following:

          1.     Directing the Clerk to disburse from the interplead funds $78,369.76 payable to

"Susan C. Peters;"

          2.     Directing the Clerk to disburse from the interplead funds $210,000.00 payable to

"Dawn M. Stange;"

          3.     Disbursing the remainder o f any interplead funds payable to "Five Points Bank as

Trustee o f the Maxine Bielfeldt Trust;

          4.     Dismiss the action with prejudice, each party to pay their own costs and attorneys'

fees.

          Respectfully submitted this th13 day o f May, 2015.
8:14-cv-00042-LSC-FG3 Doc # 38 Filed: 05/13/15 Page 2 of 3 - Page ID # 112


                                       FIVE POINTS BANK, Defendant



                                       /s'/
                                       Bv:       Kristopher J. Covi
                                              Kristopher J. Covi (#21462)
                                              McGrath North Mullin & Kratz, PC L L O
                                              First National Tower, Suite 3700
                                              1601 Dodge Street
                                              Omaha, Nebraska 68102
                                              (402) 341-3070
                                              (402) 341-0216 fax
                                              kcovi@mcgrathnorth.com

                                       - and-

                                       Thomas O. Kelley (#22667)
                                       FIVE POINTS BANK
                                       8820 Arbor St.
                                       Omaha, NE 68124
                                       (402) 827-8941
                                       Tom.Kelley@5pointsbank.com

                                       SUSAN G. PETERS, Defendant



                                       By: A / Roger G. Steel
                                                        e
                                           Roger G. Steele (#17804)
                                           Steele Law Office
                                           P.O. Box 5104
                                           Grand Island, NE 68802
                                           (308) 384-7414
                                           (308) 384-4126 fax
                                           rsteele@steeleattorneys. com

                                       DAWN M. STANGE, Defendant



                                       By: Charles W. Balsise
                                       /s/               r
                                           Charles W. Balsiger (#10180)
                                           Carney Law PC
                                           P.O. Box 1776
                                           Norfolk, NE 68702
                                           (402) 379-2543




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     8:14-cv-00042-LSC-FG3 Doc # 38 Filed: 05/13/15 Page 3 of 3 - Page ID # 113


                                 CERTIFICATE OF SERVICE
                                                    th
       The undersigned hereby certifies that on the 13 day o f May, 2015, the foregoing was

electronically filed with the Clerk o f Court by using the CM/ECF system which sent electronic

notification o f such filing to all CM/ECF participants.



                                                      / s / Kristovher J. Cov
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